
83 N.Y.2d 951 (1994)
The People of the State of New York ex rel. Hillary Best, Appellant,
v.
Daniel Senkowski, as Superintendent of Clinton Correctional Facility, Respondent.
Court of Appeals of the State of New York.
Submitted June 13, 1994
Decided June 21, 1994.
On the Court's own motion, appeal, insofar as taken from that part of the Appellate Division order which affirmed the order of Supreme Court denying petitioner's motion for reconsideration, dismissed, without costs, upon the ground that that portion of the Appellate Division order does not finally determine the proceeding within the meaning of the Constitution; appeal, insofar as taken from the remainder of the Appellate Division order, dismissed, without costs, upon the ground that no substantial constitutional question is directly involved. Motion for poor person relief dismissed academic.
